









Petition for Writ of Mandamus Denied and Opinion filed January 23, 2003









Petition for Writ of Mandamus Denied and Opinion filed
January 23, 2003.

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In The

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Fourteenth Court of Appeals

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NO. 14-03-00008-CV

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IN RE EARNEST TAYLOR, Relator

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ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

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M E M O R A N D U M&nbsp; O P I N I O N

On January 8, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002); see
also Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

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PER CURIAM

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Petition Denied
and Opinion filed January 23, 2003.

Panel consists of
Justices Yates, Anderson, and Frost. 

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